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           EXHIBIT A
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From:             azddb_responses@azd.uscourts.gov
To:               azddb_nefs@azd.uscourts.gov
Subject:          Activity in Case 2:22-cv-00266-DJH Barnett v. Concentrix Solutions Corporation et al Order on Motion for
                  Extension of Time to File Response/Reply
Date:             Wednesday, April 27, 2022 2:18:02 PM




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                                                U.S. District Court

                                          DISTRICT OF ARIZONA

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Case Name:           Barnett v. Concentrix Solutions Corporation et al
Case Number:         2:22-cv-00266-DJH
Filer:
Document Number: 32(No document attached)

Docket Text:
ORDER: Pending before the Court is Defendants' Motion for Extension of Time
(Doc. [29]). Plaintiff's Response states that he "defers to this Court as to
whether this eleventh hour 21-day extension request is appropriate." (Doc. [31]
at 5). Due to the timing of Defendants' Motion, the Court only finds cause to
grant a seven-day extension. Accordingly, IT IS ORDERED that Defendants'
Motion (Doc. [29]) is granted in part. Defendants shall file their response to
Plaintiff's Motion for Conditional FLSA Certification no later than May 6, 2022. IT
IS FURTHER ORDERED that, in the interest of justice, the Court will toll the
statute of limitations on the putative class members' FLSA overtime claims for
this seven-day extension. ORDERED by Judge Diane J Humetewa on 4/27/2022.
This is a TEXT ENTRY ONLY. There is no PDF document associated with this
entry. (LFIG)


2:22-cv-00266-DJH Notice has been electronically mailed to:

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